                                                                                                                                E-FILED
First Step Act of 2018 (Dec. 21, 2018), Application of Fair Sentencing Act                    Monday, 20 April, 2020 04:03:56 PM
                                                                                                   Clerk, U.S. District Court, ILCD

                                     UNITED STATES DISTRICT COURT
                                                       for the
                                            CENTRAL DISTRICT OF ILLINOIS
United States of America                                          )
v.                                                                )          Case No. 07-CR-10044
Corey L. Johnson                                                  )          USM No. 13603-026

07/21/2008                                                                   Pro Se
Date of Previous Judgment                                                    Defendant’s Attorney

        Order for Sentence Reduction Pursuant to Section 404 of the First Step Act of 2018

Upon motion of ✔ the defendant         the Director of the Bureau of Prisons WKHDWWRUQH\IRUWKH
*RYHUQPHQWRUthe Court for a reducHGVHQWHQFH based on the statutory penalties which were
modified by sections 2 or 3 of the Fair Sentencing Act of 2010 (Public Law 111-220; 124 Stat.
2372), as if sections 2 and 3 of the Fair Sentencing Act of 2010 were in effect atthe time defendant’s
offense was committed. Having considered such motion, and taking intoaccount the )LUVW6WHSAFW
of 201,

IT IS ORDERED that the motion is:
 ✔ DENIED.          GRANTED and the defendant’s previously imposed sentence of imprisonment (as
   reflected in the last judgment issued) of                  is reduced to                  .

I.COURT DETERMINATION OF SENTENCING PURSUANT TO F,56767(3$&7 OF 2018:
Previous Sentence Imposed:                Amended Sentence:
Previous Supervised Release Term Imposed: Amended Supervised Release Term:
Previous Underlying Sentence Imposed:     Amended Underlying Sentence:

II. SENTENCE RELATIVE TO AMENDED TERMS:

     Conditions of VXSHUYLVHGrelease set forth in judgment are to remain in effect.
     Conditions of VXSHUYLVHGrelease set forth in judgment are to remain in effect, with the following
     modifications:


II. ADDITIONAL COMMENTS:
    Waiver of Appearance of Defendant for resentencing hearing (attached).

Except as provided above, all provisions of the judgment dated                         07/21/2008     shall remain in effect.

IT IS SO ORDERED.
                                                                                    s/Joe B. McDade
Order Date:
                    4/20/2020
                                                                                    Judge’s Signature
                                                                                    Joe B. McDade, U.S. District Judge
